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     Bonny E. Sweeney (Cal. Bar. No. 176174)            Pat A. Cipollone, P.C. (pro hac vice)
 1   HAUSFELD                                           Rebecca R. Anzidei (pro hac vice)
 2   600 Montgomery St., Suite 3200                     Robert B. Gilmore (pro hac vice)
     San Francisco, California 94111                    STEIN MITCHELL CIPOLLONE
 3   Tel: 415-633-1908                                  BEATO & MISSNER LLP
     Fax: 415-358-4980                                  1100 Connecticut Ave., N.W.
 4   bsweeney@hausfeld.com                              Washington, D.C. 20036
                                                        Tel: (202) 737-7777
 5   Richard Lewis (pro hac vice)                       pcipollone@steinmitchell.com
     Kristen Ward Broz (pro hac vice)                   ranzidei@steinmitchell.com
 6   HAUSFELD                                           rgilmore@steinmitchell.com
     1700 K St. N.W., Suite 650
 7   Washington, D.C. 20006                             Elizabeth C. Pritzker (Cal. Bar. No. 146267)
     Tel: 202-540-7200                                  Jonathan K. Levine (Cal. Bar. No. 220289)
 8   Fax: 202-540-7201                                  Bethany L. Caracuzzo (Cal. Bar. No. 190687)
     rlewis@hausfeld.com                                PRITZKER LEVINE LLP
 9   kward@hausfeld.com                                 180 Grand Avenue, Suite 1390
                                                        Oakland, California 94612
10                                                      Tel. 415-692-0772
11                                                      Fax. 415-366-6110
                                                        ecp@pritzkerlevine.com
12                                                      jkl@pritzkerlevine.com
                                                        bc@pritzkerlevine.com
13
14
15   Attorneys for Plaintiffs and the Proposed Class
16
                             IN THE UNITED STATES DISTRICT COURT
17                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

18
                                                       Case No. 15-cv-03504-YGR-JSC
19   CHRISTOPHER CORCORAN, et al.,
                                                       CLASS ACTION
20                             Plaintiffs,
                                                       DECLARATION OF JONATHAN K.
21         v.                                          LEVINE IN SUPPORT OF
                                                       PLAINTIFFS’ ADMINISTRATIVE
22   CVS PHARMACY, INC.,                               MOTION TO FILE UNDER SEAL
                                                       MATERIALS DESIGNATED AS
23                             Defendant.              CONFIDENTIAL
24                                                     Judge: Hon. Yvonne Gonzalez Rogers
25
26
27
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     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                        CASE NO. 15-CV-03504-YGR-JSC
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 1   I, Jonathan K. Levine, declare as follows:
 2         1.       I am an attorney duly admitted to practice before this Court and am a partner of Pritzker
 3   Levine LLP, one of law firms representing plaintiffs and the proposed class in this litigation. I have
 4   personal knowledge of the facts stated herein and, if called upon to do so, could and would testify
 5   competently thereto.
 6         2.       Plaintiffs hereby request that the following documents be filed under seal, for the
 7   reasons set forth below:
 8                  a)      Portions of plaintiffs’ Opposition brief at 13:11- 14:19, 15:25-16:3, and 18:12-
 9                          24;
10                  b)      Portions of the Declaration of Dr. Robert P. Navarro, at paragraphs 21, 26, 34,
11                          40, 43, 45, 47 – 50; and footnotes 23, 28, 31, 33 59, 64, 67 and 78, attached as
12                          Exhibit 1 to the Declaration of Robert B. Gilmore submitted in support of
13                          Plaintiffs’ Opposition (hereinafter “Gilmore Decl.”);
14                  c)      Excerpts of the November 7, 2016 deposition of Dr. Robert P. Navarro, attached
15                          as Exhibit 3 to the Gilmore Decl.;
16                  d)      Exhibits 2, and 9-12, 16-21, and 26 to the Gilmore Decl. which consist of
17                          documents produced by CVS in this litigation;
18                  e)      Exhibits 13, 14, 15, and 22 – 27 to the Gilmore Decl., which consist of excerpts
19                          of the depositions of CVS employees and third-party declarants.
20         3.       On October 3, 2016, plaintiffs moved to seal the same portions of the declarations of
21   Dr. Navarro submitted in support of plaintiffs’ motion for class certification. See Dkt. No. 170,
22   specifically Dkts. Nos. 170-7 (motion to seal), and 172-4 (motion for class certification).         The
23   administrative motion to seal is currently pending.
24         4.       Pursuant to § 2.2 of the Revised Stipulated Protective Order (“Order”)(Docket No. 66,
25   filed December 14, 2015 and approved by the Court on December 15, 2015, Docket No. 67), each
26   party may designate as “Confidential” information that qualifies for protection under Federal Rule of
27   Civil Procedure 26(c). Pursuant to § 7.2 of the Order, disclosure of such information may be allowed
28
     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                             CASE NO. 15-cv-03504-YGR-JSC
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 1   only to the categories of persons and under the conditions described in the Order. The documents
 2   designated confidential and that are filed under seal are as follows:
 3
 4           Document                                     Designating Party and Confidentiality
                                                          Designation
 5           Portions of plaintiffs’ Opposition brief,    CVS- Confidential
 6           at 13:11- 14:19, 15:25-16:3, and 18:12-
             24.
 7
             Exhibit 1 to the Gilmore Decl.: portions     CVS- Confidential
 8           of the Declaration of Dr. Robert P.
             Navarro, at 21, 26, 34, 40, 43, 45, 47 -
 9           50, and footnotes 23, 28, 31, 33 59, 64,
10           67 and 78
             Exhibit 2 to the Gilmore Decl.: excerpts     CVS- Confidential
11
             of deposition transcript of Thomas
12           Gibbons (9/30/14) (CVSC-0223177)

13           Exhibit 3 to the Gilmore Decl.: excerpts     CVS- Confidential
             of deposition transcript of Dr. Robert P.
14           Navarro (11/7/16)
15           Exhibit 9 to the Gilmore Decl.:              CVS- Confidential
             document produced by CVS (CVSC-
16           0222966)
17           Exhibit 10 to the Gilmore Decl.:             CVS- Confidential
             document produced by CVS (CVSC-
18           0223086)
19           Exhibit 11 to the Gilmore Decl.:             CVS- Confidential
             document produced by CVS (CVSC-
20
             0067921)
21           Exhibit 12 to the Gilmore Decl.:             CVS- Confidential
22           document produced by CVS (CVSC-
             022983)
23
             Exhibit 13 to the Gilmore Decl.:             CVS- Confidential
24           excerpts of deposition transcript of
             Scott Tierney
25
             Exhibit 14 to the Gilmore Decl.:             CVS- Confidential
26           excerpts of deposition transcript of
             Sevak Melkonian (7/21/16)
27
             Exhibit 15 to the Gilmore Decl.:             CVS- Confidential
28
     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                              CASE NO. 15-cv-03504-YGR-JSC
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 1         excerpts of deposition transcript of
           Hilary Dudley
 2         Exhibit 16 to the Gilmore Decl.:          CVS- Confidential
 3         document produced by CVS (CVSC-
           0222729)
 4
           Exhibit 17 to the Gilmore Decl.:          CVS- Confidential
 5         document produced by CVS (CVSC-
           0222766)
 6
           Exhibit 18 to the Gilmore Decl.:          CVS- Confidential
 7         document produced by CVS (CVSC-
           0222959)
 8
           Exhibit 19 to the Gilmore Decl.:          CVS- Confidential
 9         document produced by CVS (CVSC-
10         0001448)
           Exhibit 20 to the Gilmore Decl.:          CVS- Confidential
11
           document produced by CVS (CVSC-
12         0222590)

13         Exhibit 21 to the Gilmore Decl.:          CVS- Confidential
           document produced by CVS (CVSC-
14         0355493)
15         Exhibit 22 to the Gilmore Decl.:          CVS- Confidential
           excerpts of the rough transcript of the
16         deposition of William Strein
           (12/12/16)
17
           Exhibit 23 to the Gilmore Decl.:          CVS- Confidential
18         excerpts of deposition transcript of
19         Franceen Spadaccino (12/13/16)
           Exhibit 24 to the Gilmore Decl.:          CVS- Confidential
20
           excerpts of the rough deposition
21         transcript of Amber D. Compton
           (12/16/16)
22
           Exhibit 25 to the Gilmore Decl.:          CVS- Confidential
23         excerpts of deposition transcript of
           William John Barre (11/17/16)
24
           Exhibit 26 to the Gilmore Decl.:          CVS- Confidential
25         document produced by CVS (CVSC-
           022208)
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     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                         CASE NO. 15-cv-03504-YGR-JSC
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 1           Exhibit 27 to the Gilmore Decl.:            CVS- Confidential
             excerpts of deposition of Sharon
 2           Edmunds (8/17/16)
 3          3.      Based upon my review of these materials, the requested relief is necessary per Civil
 4   Local Rule 79-5(e) to protect the confidentiality of information contained in these briefs and exhibits
 5   that is derived from, or consists wholly of, documents designated as Confidential by defendant under
 6   the terms of the Revised Protective Order.
 7          4.      Plaintiffs do not take a position as to whether these documents have been appropriately
 8   designated as Confidential and are appropriately filed under seal.
 9          I declare under penalty of perjury under the laws of the United States of America that the
10   foregoing is true and correct.
11          Executed this 19th day of December, 2016 in Oakland, California.
12
13
                                                          By: /s/ Jonathan K. Levine
14                                                               Jonathan K. Levine
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     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                             CASE NO. 15-cv-03504-YGR-JSC
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